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                  EXHIBIT 2
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Second Expert Report of Kal Toth Concerning the Maverickeye Case
December 24, 2017
Prepared by Dr. Kal Toth, P.Eng, Portland, OR 97205
For Mr. J. Curtis Edmondson, Law Offices of J. Curtis Edmondson, Hillsboro, OR 97124


The purpose of this document is to report on the adequacy of IPP International’s IPTRACKER system by
examining IPTRACKER’s Functional Description and software.
This report is driven by the Functional Description of IPTRACKER provided in the Declaration of Tobias
Fieser (“Exhibit 1) located in Annex B, and the IPTRACKER software source code provided to me under
Stipulated Protective Order per Case No. 3:15-cvv-00907-AC.
As part of the effort to prepare this report, I conducted a preliminary inspection of the provided IPTRACKER
software, tabulating my preliminary findings in a spreadsheet appearing in Annex D entitled MaverickEye
Preliminary Source Code Inspection Report. Appendix E contains selected notices from IPTRACKER.
Neither Annex D or Annex E reveal any of the source code.
Annex C contains a publication by Josh Brunty entitled “Validation of Forensics Tools and Software: A
Quick Guide for the Digital Examiner which I briefly reference in Section 4 of this report.
Please know that given the Maverickeye IPTRACKER software has been placed under Stipulated
Protective Order, I have taken steps to ensure that the alleged proprietary information embodied by this
software has not been released by way of this report.
I have independently arrived at the opinions expressed in this report which depend on the accuracy of the
information provided to me per Annex B, the provided IPTRACKER Source code. My opinions are shaped
by my systems and software engineering qualifications, knowledge and experience detailed in Annex A and
summarized in Section 1 of this report.

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      Annex B: Exhibit 1, Declaration of Tobias Fieser (IPTRACKER)
      Annex C: Validation of Forensics Tools and Software
      Annex D: MaverickEye Software Inspection Report
      Annex E: MaverickEye Embedded Declarations




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1. My Qualifications
   My name is Kal Toth with a Ph.D. in computer engineering. I am a professional engineer (P.Eng.) with a
   Software Engineering designation registered in British Columbia, Canada. I have led teams of software
   engineers, developers and quality assurance engineers in industry for over 25 years specifying,
   architecting, and assuring software, systems, security, and Internet-based solutions for Intellitech, CGI
   Group, Datalink Systems Corp. and Hughes Aircraft. At CGI and Hughes Aircraft I was also the software
   and systems engineering practice leader. I have taught numerous software engineering and information
   technology-related courses to working professionals at the Technical University of British Columbia,
   Oregon State University and Portland State University. My resume includes lists of technical publications,
   reports, seminars and courses.
                                                                               rd
   As Vice President of Systems Engineering for the CGI Group, I led a 3 Party Validation and Verification
   team hired by the Canadian Federal Government to oversee their prime contractor’s $50M development of
   a security-critical global messaging system for Canada’s embassies abroad. The primary purpose of this
   project was to ensure that the prime contractor’s development teams developed adequate plans,
   requirements specifications, designs and test procedures, and executed their plans, reviews and
   procedures according to their obligations and standards called up under their contract with the Canadian
   government.
   As Director of Quality at Hughes Aircraft of Canada, Systems Division, my team conducted the quality
   assurance and RMAS (reliability, maintainability, availability and safety) engineering tasks supporting the
   development of five large software-intensive Air Traffic Control (ATC) systems, in particular, Canada’s new
   ATC system, a $500M project. My responsibilities included facilitating the division’s software requirements,
   architecture, development and testing groups by specifying and promulgating the division’s transition from
   a traditional plan-based software process to a more flexible iterative software development process.
   As Vice President of Engineering for Datalink Systems Corp I managed an agile team of ten software
   engineers, programmers and testers developing and maintaining a real-time alert system for stock
   quotations sent to the mobile devices of customers who managed their portfolios via their browsers. The
   system ran on a server farm of a dozen physical servers, supported by an SQL database and was partially
   redundant. My team established an agile software development process, developed functional and design
   specifications for system enhancements, peer-reviewed specifications, and conducted independent module
   testing and system integration testing.
   See Exhibit 6 for additional details.

2. Synopsis of BitTorrent Technology
   BitTorrent is a peer-to-peer (P2P) file sharing protocol that enables large scale distribution of files among
   the devices of users across the Internet. This protocol is widely used across the web to support the
   distribution of large volumes of data, software packages, software updates, video, audio and various multi-
   media files efficiently and effectively. While infringement and piracy are serious concerns, BitTorrent
   technology is nevertheless an essential element of e-business, e-education, e-government, e-health,
   entertainment, and many other sectors of the global economy.
   So-called BitTorrent clients (software modules) installed on end-user devices and the servers of web-based
   providers implement the BitTorrent protocols for peer-to-peer content sharing. A number of open source
   BitTorrent clients are available to users. Shared files are broken into many small pieces which are typically
   transferred among a large number of widely dispersed peers. Each peer can be simultaneously sending
   and receiving pieces from a significant number of files. Hashing techniques are used to ensure the integrity
   of transfers and the correct assembly of pieces which can arrive in arbitrary order at any given end point.


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  IPTRACKER’s core functionality is to detect BitTorrent users who have downloaded copyrighted material
  without permission (e.g. infringers who have not paid for the content). To accomplish this, IPTRACKER
  mimics the role of a BitTorrent peer, scanning/searching and collecting pieces of files from peer users
  across the web. However, IPTRACKER does not transfer (i.e. “seed”) any pieces of files to peer users.
  IPTRACKER is therefore a rather complex concurrent processing system that scans and tracks an
  exceeding large number of P2P clients across the web, implements BitTorrent’s non-trivial sharing
  protocols; captures Internet protocol information (e.g. IP addresses) of peer users; decodes, verifies, and
  assembles content; records protocol streams; assembles content into a large-scale database management
  system; and supports of number of operational, administrative, security, and backup/recovery tasks.

 2.1 IPTRACKER is Considered Proprietary Software
  I understand that the IPTRACKER software is considered to be proprietary.

 2.2 Measures to Prevent Wrongful Accusation
  Previously I have described the following problems that could lead to IPTRACKER to wrongfully accuse
  innocent parties of copyright infringement:
      a) Implying Infringement when Files Partially Downloaded: Ideally, IPTRACKER can detect when
         a user decides to abandon an attempted download due to an inadvertent or accidental launch (i.e.
         user is not infringing). This could be accomplished if the system is required to download all pieces
         of a file – timing out after a pre-determined interval. However, I understand that IPTRACKER
         reports users to be infringers after having acquired only a small number of fragments (pieces) from
         the user’s IP address, perhaps only a single piece. IPTRACKER should download all pieces of a
         file before reporting possible infringement.
      b) Attributing Infringement to Subscribers who Share Routers: WiFi routers are often shared
         among multiple parties, neighbors and lurkers. To eliminate wrongful infringement accusations,
         IPTRACKER should implement a reliable scheme for distinguishing the infringing party from the
         Internet subscriber who owns the service and the shared router.
      c) Attributing Infringement to Current Subscriber Allocated an IP Address: Many routers are
         routinely reset: because routers can “freeze”; because of power failures; and because routers are
         sometimes intentionally powered down. Also, Internet providers may choose to remotely reset the
         IP address of a router for operational reasons. Such resets can allocate the IP address of an
         infringer to an innocent party. IPTRACKER should implement a reliable scheme to detect and
         compensate for such router resets.

3. IPTRACKER Tracker Functional Description
  Tobias Fieser’s declaration (“Exhibit 1” in Annex B to this report) includes what is represented as a
  “Functional Description” of IPP’s IPTRACKER v1.2.1. Pages 3 and 4 identity some of the functions and
  features of IPTRACKER, but does not describe how these functions and features are related to each other,
  or, for that matter, to BitTorrent networks and protocols. Given the product is intended to detect copyright
  infringement accomplished by way of BitTorrent technology, I was surprised to not find a single reference to
  BitTorrent in these introductory pages.
  The figure on page 5 is a hardware block diagram void of any references to software. I fully expected the
  preponderance of custom functionality for ITTRACKER to be implemented by way of software, and that the
  core software modules comprising the system, including interfaces with BitTorrent components and
  protocols, would have been depicted in this figure. Although this figure depicts and labels several
  information flows, the purpose, content, ordering, and input/outputs attributed to these flows is not
  explained even in a cursory manner.


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 Although section 2.3 on page 6 is entitled “Description of the most important programs functions”, only a
 few components are identified, and their functionalities are not meaningfully explained. Similarly, page 7
 identifies database, privacy and date security features, but is devoid of any explanation of how these
 features are related to identified functions and devices on pages 3, 4, 5 and 6. Furthermore, I did not find a
 single reference to BitTorrent technology on pages 2 to 7.
 The first reference to BitTorrent appears in the last paragraph on page 8 of Section 4 Addendum. This
 page ostensibly provides basic knowledge about peer-to-peer file sharing which is rather poorly explained.
 Pages 9 and 10 briefly describes Gnutella, Gnutella 2 and eDonkey networks with which IPTRACKER
 apparently integrates. The two accompanying sketches are devoid of useful information.
 Page 11 provides a brief description of BitTorrent accompanied by a sketch, also devoid of useful
 information. Interestingly, this page is also devoid of any mention that IPTRACKER integrates with
 BitTorrent. I found this to be particularly surprising given that this seems not to be the case.
 Page 12 briefly describes what a Globally Unique Identifier (UID) is, how it relates to peer-to-peer file
 sharing, and how hashing is used to support the reliable transfer of pieces and the assembly of files in P2P
 networks. However, nowhere in the document are these elements related or depicted.

3.1 Observations: Unaddressed Problems
 The IPTRACKER functional description does not indicate how the problems in Section 2.2 are overcome:
     a) The wrongful accusation of innocent parties because files are only partially downloaded;
     b) The wrongful attribution of infringement to subscribers who share routers with other parties;
     c) The wrongful attribution of infringement to subscribers because of IP address resets.
 Therefore, it can be reasonably assumed that IPTRACKER does not cope with the problems of wrongful
 accusation described in Section 2.2 above. IPP International should be asked whether the software
 handles these problems, and if so, document the specifics of how this is accomplished as well as which
 software components have been programmed to cope with each problem.

3.2 Observations: Inadequate Functional Description
 This document fails to describe the following functional aspects of the IPTRACKER system:
    a) Fails to identity the essential purpose of IPTRACKER to detect possible copyright infringers;
    b) Fails to show where and how IPTracker integrates with the BitTorrent network and protocols;
    c) Fails to identify significant software components or subsystems of IPTRACKER implementing
       functionality and protocols for integrating with the BitTorrent;
    d) Fails to describe how IPTRACKER software components integrate with each other and with
       IPTRACKER’s database management system (MySQL);
    e) Fails to identity which, if any, software components of IPTRACKER were acquired from the open
       source software community and used “as is” or adapted; which software components were custom
       developed by IPP employees or contractors; and which software components were otherwise
       acquired (e.g. by way of development system software libraries).
 In other words, this document provides virtually no useful information for assessing the adequacy of the
 IPTRACKER software and system for a forensics purpose such as detecting possible copyright infringers
 using the BitTorrent network.
 At a minimum, a detailed functional specification accompanied by an architectural design document is
 needed to assess the reliability and trustworthiness of a complex system such as IPTRACKER. Without

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   such documents in place, it is not possible to objectively assess the consistency, completeness or
   correctness of either the individual software components, or the integrated operational system by way of
   code inspections, design reviews, and testing.
   Nevertheless, I have conducted a preliminary assessment of the IPTRACKER software (see Section 5).

4. Validation of Forensics Tools and Software
   In Annex C, I have provided the observations and insights of Josh Bunty (Marshall University Forensic
   Science Center) in his paper entitled “Validation of Forensics Tools and Software: A Quick Guide for the
   Forensics Examiner”. Informed by the work of the National Institute of Standards and Technology (NIST),
   Bunty asserts that software-based tools used for forensics purposes should be validated quarterly to
   ensure repeatable and reproducible results. Referencing the Daubert Standard which requires an
   independent judicial assessment of the reliability of a scientific test or method, he argues that this is a good
   starting point for drafting validation reports for forensics tools that will hold up in a court of law. He goes on
   to describe four basic steps for planning and testing forensics tools.

  4.1 IPTRACKER: A Forensics Tool that Identifies Alleged Infringers
   IPTRACKER is used to detect possible copyright infringement by BitTorrent users for the purpose of
   obtaining court subpoenas to seize and inspect their personal computers to determine if infringement
   actually took place. Given such an action can inflict significant emotional, social, and financial harm on an
   innocent party, an elevated level of assurance is warranted to ensure that the forensics tool used to identity
   a suspected infringer executes consistently and correctly, namely, that it is free of software defects that
   could silently implicate innocent parties.
   As demonstrated above, the functional description for IPTRACKER provides virtually no visibility into the
   intended functioning of the operational system. Furthermore, an architectural design specification showing
   how the software is integrated to implement the required functionality has not been provided. In the
   absence of both of these documents it is not possible to construct a validation plan and testing process that
   satisfies the guidance described by Bunty and advocated by NIST for forensics tools and software.
   Following the process recommended by Bunty, I suggest that these clarifying questions be asked:
       a) Since IPTRACKER digitally detects copyright infringement, is it considered to be a forensics tool?
       b) Has the company established a forensics tool validation process for IPTRACKER?
       c) How often is the IPTRACKER software validated? What techniques are used?
       d) Does the company have a documented plan describing test steps, tools, and scenarios?
       e) Does this validation process include setting up a test suite and controlled data set?
       f)   Does the validation process examine and compare test results against expected results?

5. Preliminary Assessment of IPTRACKER Software Source Code
   I conducted a preliminary inspection of the IPTRACKER software source code, tabulated my findings in a
   spreadsheet appearing in Annex D which is entitled “MaverickEye Preliminary Source Code Inspection
   Report”. My process involved reviewing and assessing the general scope and magnitude of the
   IPTRACKER software to discriminate open source and custom software components. This was partly
   accomplished by inspecting notices and comments embedded in the code documenting licenses, authors,
   and copyright holders. I also searched the web to assess whether any of the IPTRACKER components
   were open source. When conducting my inspection, I annotated each IPTRACKER folder and file. To
   manage my search, I marked empty folders, empty files, non-text files (e.g. .rar, .dll, .exe), and “junk” (files

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   such documents in place, it is not possible to objectively assess the consistency, completeness or
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   ensure repeatable and reproducible results. Referencing the Daubert Standard which requires an
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   accomplished by inspecting notices and comments embedded in the code documenting licenses, authors,
   and copyright holders. I also searched the web to assess whether any of the IPTRACKER components
   were open source. When conducting my inspection, I annotated each IPTRACKER folder and file. To
   manage my search, I marked empty folders, empty files, non-text files (e.g. .rar, .dll, .exe), and “junk” (files

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 containing random text) as they were encountered. When encountering useful information, I annotated the
 file with the licensing, authorship, and copyright information, otherwise marking it “unremarkable”. I also
 recorded the size, in bytes, of each major subsystem, and assessed the approximate number of files
 composing each of these subsystems.

5.1 Observations Regarding the Source Code
 The Table 1 below summarizes my overall assessment of the scope, size, categorization, and
 authorship/copyrights of IPTRACKER’s major subsystems. The software subsystems representing,
 perhaps, the most complex subsystems comprising IPTRACKER are SharpPcap and MonoTorrent.
 Without the aid of functional and architectural documentation, I surmise that MonoTorrent is the core
 software implementing the BitTorrent protocols, and SharpPcap is used to capture the protocol information
 when content is downloaded to IPTRACKER.
 A search of the web confirms that Alan McGovern and Gregor Burger were among the original developers
 of the MonoTorrent code. Similarly, Chris Morgan, Tamir Gal, Phillip Lemon developed the original
 SharpPcap code. Inspections of the source code confirm that Alan McGovern was also heavily involved in
 the development of MonoTorrent.Tests and MonoTorrent.Dht. Alan McGovern also played a role in the
 development of the GeoIP_Project which apparently determines the rough geographic location of an
 Internet IP address. Meanwhile, the README.txt (see Annex E) suggests that TrackerApp is closely
 coupled with the MonoTorrent subsystem.
 Meanwhile, when inspecting the IPTRACKER code, I was not able to locate any objective evident that
 SharpPcap and MonoTracker were modified, enhanced and integrated by IPP International personnel.
 Of course there is the possibility that one or more of the developers identified in Table 1 were hired by IPP
 International to create IPTRACKER. If claimed to be true, IPP International and the plaintiff should be
 asked to provide such evidence.
 Table 1: IPTRACKER

                                            1
        IPTRACKER         Bytes      #Files      Category                       Authors/Copyrights

 .. TrackerApp/           274,000      22       Open Source     Gregor Burger
 .. SharpPcap/           2,590,000    107       Open Source     Chris Morgan, Tamir Gal, Phillip Lemon
 .. Samples/                6,900      3             -          -
 ..SampleClient/          493,000      37            -          -
 .. MonoTorrent.Tests/    328,000      62       Open Source     Alan McGovern
 .. MonoTorrent.Dht/      373,000      62       Open Source     Alan McGovern, Jeremie Laval, Gregor Buguer
 .. MonoTorrent/         3,710,000    216       Open Source     Numerous open source authors (see Annex D)
 .. GeoIP_Project/       4,070,000     65       Open Source     Alan McGovern, Miguel de Icaza
 .. AddFeatures/          152,000      16            -          -




 1
     Approximately


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 5.2 Observations Regarding Notices Embedded in the Source Code
  I also examined three (3) notices embedded near the root of the IPTRACKER software, namely,
  LICENSE.txt, TODO.txt and README.txt. Table 2 records my observations and comments as they relate
  to three notices which appear in Annex E.
  Table 2: IPTRACKER NOTICES


                        Observations                                                     Comments

             Logging Client / src / LICENSE.txt                   Given this notice is located at the root node of the entire
                                                                  IPTRACKER source code, the license appears to apply to
  This license notice designates Alan McGovern and Oliver         all branches of the IPTRACKER source code tree (all
  Dufour as copyright owners of MonoTorrent, a cross-             subfolders and files).
  platform library of C# code implementing the BitTorrent
  protocol. Permission is granted, free of charge without         Copyright: Gregor Burger, Alan McGovern
  limitation or warrantee. The license requires this notice to
  be included in all copies or substantial portions of the        This seems to imply that all of the IPTRACKER software
  software.                                                       is open source which is not the position IPP International
                                                                  has taken.

               Logging Client / src / TODO.txt
  “There is still loads of work to be done to make this a fully   This notice explicitly declares that the MonoTorrent
  fledged BitTorrent Client”.                                     software contains many bugs and is incomplete.
  This notice identifies 4 features to be improved, 3 features    Objective evidence should be provided that the software
  to be added, and the need to improve documentation              bugs were fixed and which, if any, of the recommended
                                                                  additions, improvements, and documentation were
  “If anyone finds bugs or anything in the code (which I'm        implemented.
  sure there are many) [:p)] feel free to drop me an email.”

             Logging Client / src / README.txt
  This notice provides guidance to developers using and           This notice provides objective evidence that the software
  modifying MonoTorrent to suit a given purpose. This             license identified above applies to MonoTorrent Client,
  notice also provides guidance for using MonoTorrent             MonoTorrent.Tracker, and MonoTorrent.TrackerApp.
  Client, MonoTorrent.Tracker, MonoTorrent.TrackerApp
  and other code fragments identified.




6. Summary of Findings
  The Functional Description provided in the declaration of Tobias Fieser provides virtually no useful
  information for assessing the adequacy of the IPTRACKER software and system for a forensics purpose
  such as detecting possible copyright infringers using the BitTorrent network. At a minimum, a detailed
  functional specification accompanied by an architectural design document is needed to assess the
  reliability and trustworthiness of a complex system such as IPTRACKER.
  IPP International has apparently taken the position that IPTRACKER is a forensics tool given copyright
  infringement by BitTorrent users is allegedly detected. The company should be required to demonstrate
  that a sound forensics tool validation process be applied to the IPTRACKER system quarterly.
  My inspection of the IPTRACKER software suggests that most of the software is open source. I did not
  find any objective evidence that any of the software source code was created, modified, or enhanced by
  IPP International personnel.




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Of course there is the possibility that one or more of the developers identified in Table 1 were hired by IPP
International to create the IPTRACKER software. If so claimed, IPP International and the plaintiff should be
asked to provide corroborating objective evidence.
The MonoTorrent license notice that the software is free is located at the root node of the IPTRACKER
source code. This seems to imply that virtually all of the IPTRACKER software is open source. Apparently,
IPP International takes the position that IPTRACKER is proprietary.
The TODO notice embedded in the software declares that the MonoTorrent software contains many bugs
and is incomplete. Objective evidence should be provided that the software bugs were fixed and which, if
any, of the recommended additions, improvements, and documentation were implemented.




My rate is $350.00 per hour. It took me __ hours to draft, edit, and complete this report including Annexes.




Signed under the Penalty of Perjury,
Kal Toth (Kalman C. Toth)




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                                                                                th
                                                                 304-1132 SW 19 Ave Portland OR 97205
                                                                 kalmanctoth@gmail.com    503.984.3531
    Kalman C. Toth Ph.D., P. Eng.



           Systems and Software Engineering and Security Technology Professional


Background / Experience:
   Executive leadership for systems, software, quality and IT organizations, projects and teams.
   Technology startups, IT consulting, mission-critical projects.
   Software and systems engineering manager, innovator, and change agent
   Cyber security, identity management, e-commerce, mobile computing, distributed systems,
    networking, communications, and databases.
   Developed technology solutions, and provided consulting and educational services for
    government, the financial/banking/brokerage sector, and universities.
   Selected Projects: Air traffic control systems; real-time stock quotation system for mobile devices;
    security devices and gateways; global secure messaging; on-line learning management systems;
    search and rescue system.
   Delivered numerous technical and management courses to working professionals.
Competencies:
Systems, software and quality engineering, Strategic and business planning, Project management,
 Identity assurance and security engineering and technology, e-learning / distance education.
Citizenship and Residency: U.S. and Canadian Citizen (dual); U.S. Resident
Languages: English (mother tongue), Hungarian (father tongue), and French fluency
World: Early IT career with World Health Organization, Geneva; well-travelled in Europe
Education:
B. Eng. Electrical Engineering
M. Eng. Systems Engineering and Computer Science
Ph.D. Computer Systems Engineering

Professional Engineer (P. Eng.): BC Association of Professional Engineers and Geoscientists

Training/Education Courses: E-commerce, software engineering, project management …

Pacific Northwest Software Quality Conference: Board member and 2013 Conference Chair

Portland State University: Faculty Senate Budget Committee; Intellectual Property/DE Taskforce

Goose Hollow: Vice President of the neighbourhood association’s board of directors, 2016

Patent Pending: “Electronic Identity and Credentialing System”, filed USPTO, Oct 1st, 2014

Publications and Courses: Over 100 technical papers, articles, industry reports and courses.



                       See also http://www.linkedin.com/pub/kal-toth/2/60b/b19
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                                                                           Kalman C. Toth, Ph.D. P.Eng.
Key Positions
NexGenID (2013 - 2014)
- Founded company and created innovative identity and credentialing technology: “Electronic
  identity and credentialing technology” per above-referenced patent-pending
- Developed detailed functional specification and supported marketing and funding efforts
aTrust Inc. (2012 - 2013), Chief Technology Officer (CTO)
- Evolved this startup’s vision, technology roadmap, and product-line development strategy
- Built and maintained partner/vendor relationships in technology and banking sectors
- Managed and evaluated the distributed development team’s progress and performance
Portland State University (2003-12), Executive Director and Associate Professor
- Directed, enhanced and evolved the Oregon Master of Software Engineering (OMSE) into a
  fully online learning program for working software professionals in Oregon’s hi-tech sector
- Delivered software engineering, project management, quality engineering, distributed team,
  estimating, and architectural design courses and seminars – both face-to-face and online
- Investigated identity management technologies targeted at the healthcare and banking sectors
  creating the “Persona Concept”, a framework for managing electronic credentials and private
  data of users across PCs, smart cards, smart phones, and other personal devices

Oregon State University (2001-2003), Associate Professor Computer Science

Technical University of British Columbia (1999-2001), Assoc. Prof., Information Technology
Datalink Systems Corp. (1997-99), Vice President Engineering
- Managed Datalink’s technical operations and information technology infrastructure
- Led the development of a web-based service and payment processor for delivering real-time
  stock quotes, news, sports, and other services to wireless devices - pagers and cell phones
- Worked with marketing/support to develop requirements and rapid response to user problems
- Removed security weaknesses of the previously deployed service center
- Developed replacement architecture with scalability, backup and recovery features
Hughes Aircraft Systems Division (1992-95), Director of Quality
- Led quality, reliability, maintainability, availability and system safety teams for five (5) large air
  traffic control projects (Canada, Canadian military, Switzerland, Indonesia and China)
- Leading member of the core team that created the division’s innovative iterative software
  process that was adopted to develop the $400M Canadian air traffic control system (CAATS)
- Created a new process infrastructure for the division’s policies, practices and procedures
CGI Group Inc. (1988-1992), Vice President Systems Engineering & VP Total Quality
- Practice leader across CGI’s 10 regional offices for project management, software
  engineering, quality engineering, configuration management, and software estimating
- Led process improvement initiatives across CGI’s US and Canadian offices
- Developed and initiated a strategic plan to implement a company-wide total quality process
- Conducted independent verification and validation of a $50M project to develop a globally
  secure network across Canada’s embassies abroad for External Affairs Canada
- Developed an innovative information security analysis model for Defence Canada
Intellitech Canada Ltd. (1983-88), Founder & President
- Founded Intellitech, growing it into a 25-person systems engineering and consulting firm
- Conducted numerous design and development projects for distributed information systems,
  networks and security gateways for military, government and industry clients
- Led the development of Intellitech’s secure packet-network product and the delivery of
  prototypes to Communications Canada – funded by the Canadian National Research Council
  and the Bank of Montreal, and sponsored by the Communications Security Establishment

Carleton University (1980-83), Assistant Prof., Systems Engineering and Computer Science



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Conferences and Journal Publications
 Kalman C Toth, Brewing Next Generation Identity, Pacific Northwest Software Quality Conference, October
   2015
 Kalman C Toth, Herman Migliore, Critical Factors Characterizing Projects and Lifecycle Models, PNSQC,
   October 2013
 Kalman Toth, Learning Software Engineering – Online, Pacific Northwest Software Quality Conference,
   October 2011
 Kal Toth, An Organizational Approach for Sustaining E-Learning in a Large Urban University, Future of Ed’n,
   June 2011
 Kal Toth, Software Engineering Online and Hybrid Learning Models at PSU, CATA, March, 2011
 Kal Toth, Raleigh Ledet, Lessons Learned about Distributed Software Team Collaboration, PNSQC, October,
   2010
 Kal Toth, Software Estimating: Navigating to the Landing Zone, Computers & their Applications, Honolulu, HI,
   Mar 2010
 Kal Toth et. al., Distributed Software Engineering Team Collaboration, poster session, PNSQC, October 2009
 Kal Toth, Software Estimating, Flexibility and Principled Negotiation, Computers and their Applications in
   Industry and Engineering (CAINE), San Francisco, November, 2009
 Kal Toth, Selecting Software Estimating Techniques that Fit the Software Process, Pacific Northwest
   Software Quality Conference (PNSQC), Portland, Oregon, October, 2008
 Dan Brook, Kal Toth, Levels of Process Ceremony for Software Configuration Management, Pacific
   Northwest Software Quality Conference (PNSQC), Portland, Oregon, October, 2007
 Kalman C. Toth, A Practical Identity Management Reference Implementation, International Conference on
   Computers and Their Application (CATA), Honolulu, Hawaii, March 28-30, 2007
 Kal Toth, Experiences with Open Source Software Engineering Tools, IEEE Software, November/December
   2006
 Kalman Toth, Persona Concept for Web-Based Identity Management, 2006 International Conference on
   Privacy, Security and Trust, UOIT, Newmarket, Ontario, Oct 30-November 1 2006
 L. Grove, R. Hickman, W. Matthews, K. Toth, Open Source Software Engineering Tools, Pacific Northwest
   Software Quality Conference (PNSQC), Portland, Oregon, October 12-13, 2004
 K.C. Toth, M.Subramanium, Requirements for the Persona Concept, Requirements for High Assurance
   Systems (RHAS’03) workshop, Monterey, CA, September 9, 2003
 K.C. Toth, M. Subramanium, The Persona Concept: A Consumer-Centered Identity Model, MobEA
   (Emerging Applications for Wireless and Mobile Access), Budapest, Hungary, May 2003
 K.C. Toth, M. Subramanium, Persona Concept for Privacy and Authentication, International Business &
   Economics Research Journal, June 2003
 K.C. Toth, M. Subramanium, I. Chen, Persona Concept for Privacy and Authentication, International Applied
   Business Research Conference, Acapulco, Mexico, March 2003; recipient of best paper award
 K.C. Toth and S. Nagboth, A Constraint-Based Personalization Model for E-Business Applications,
   International Applied Business Research Conference, Acapulco, Mexico, March 2003
 K.C. Toth, S. Nagboth, Intelligent Agents for Business Applications Using Constraint-Based Personalization,
   International Business & Economics Research (IBER) Journal, May 2002
 K.C. Toth, Software Product Evolution in the Classroom, American Society for Engineering Education / PSW,
   Fresno, California, April 8, 2002
 K.C. Toth, Simulating (Software) Product Evolution in the Classroom, The Western Canadian Conference on
   Computing Education (WCCCE), Nelson, British Columbia, May 3, 2001
 K.C. Toth and H. Todino, Instant Internet Intelligence for Wireless Business Applications, International
   Applied Business Research Conference, Cancun, Mexico, March 2001
 D Cyr, H Trevor-Smith, T Schiphorst & K.C Toth, A Web-Enabled Case Study in Project Management,
   International Business Education and Technology Conference, Cancun Mexico, March 2001
 K.C. Toth, M.Donat and J. Joyce, Generating Test Cases from Formal Specifications, 1996 International
   Council of Systems Engineering (INCOSE) Symposium, July 1996
 R. John, J. Madhur, R. Stewart, K. Toth, Software Quality Metrics Process For Large Scale Systems
   Development, 1996 INCOSE Symposium, July 1996
 K.C. Toth, J.J. Joyce, J. Masters, G. Pelletier, Precise, Unambiguous, Machine-Readable ATC Standards:

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    Use of "Formal Methods" in the ATC Industry, ATCA Conference Proceedings, September 1995
   K Toth & J. Joyce, Industrialization of Formal Methods Through Process Definition, feature paper at the 1995
    National Council on Systems Engineering Symposium, July 1995
   T. Paine, P. Kruchten & K. Toth, Modernizing ATC Through Modern Software Methods, Proceedings of the
    38th Annual Air Traffic Control Association, Nashville, Tennessee, October 1993
   M.W.L. Dennison, K.C. Toth & J.F. Clayton, Using a Practical Approach to Threat/Risk Analysis, Third Annual
    Canadian Computer Security Conference, Ottawa, May 14-16, 1991
   K. Toth, Information Security Architectures, AFCEA '90 (Armed Forces Communications & Electronics
    Association Technical Conference), Hawaii, November, 1990
   K.C. Toth, Security Architectures for Information Networks, AFCEA Canada '90, April 1990
   H. Adra, J. Allen, K. Toth, Trusted Integrated Project Support Environments, Second Annual Canadian
    Computer Security Conference, Ottawa, March 1990
   K. Toth, Towards an Improved Information Security Model, 1st Canadian Comp. Security Conf, January 1989
   K. Toth, Security Management in Data Networks, 1st Annual Canadian Computer Security Conf, January
    1989
   AC Capel, C Laferriere & K.C Toth, Protecting the Security of X.25 Comm’s, Data Com Mag, November 1988
   K.C. Toth, S.A. Mahmoud, J.S. Riordon, Query Processing Strategies in a Distributed Database Architecture,
    Distributed Data Systems, North-Holland Publishing Co., 1982
   K.C. Toth, S.A. Mahmoud & J.S. Riordon, An Approach to Query Processing in Distributed Databases,
    Proceedings of the Sixth International Conference on Very Large Data Bases, Montreal, 1980
   Kalman C. Toth, Distributed Database Architecture & Query Processing Strategies, Ph.D. Carleton U 1980
   S.A. Mahmoud, J.S. Riordon & K.C. Toth, Distributed Database Partitioning & Query Processing, G. Bracchi
    and G.M. Nijessen (ed), Data Base Architecture, IFIP, North Holland, 1979
   S.A. Mahmoud, J.S. Riordon and K.C. Toth, Distributed Database Partitioning and Query Processing
    Strategies, IFIP Conference on Database Architecture, Venice, June, 1979
   J.S. Riordon, S.A. Mahmoud, K.C. Toth & O. Sherif, Distributed Database Architecture and Query
    Processing, CIPS/DPMA, Quebec City, June 1979
   K.C. Toth, S.A. Mahmoud, J.S. Riordon, O. Sherif, The ADD System - An Architecture for Distributed
    Databases, Proc. of the 4th International Conference of Very Large Data Bases, Berlin, September1978
   S.A. Mahmoud & K.C. Toth, Design Considerations for a Mini-Computer Database, MIMI International
    Conference, Zurich, June 7-9, 1977
   S.A. Mahmoud, J.S. Riordon & K.C. Toth, Design of a Distributed Database File Manager for a
    Mini-Computer Network, COMPSAC77, Chicago, November 8-11, 1977
   Kalman C. Toth, Contributions to the Synthesis of Computer-Communication Networks, M.Eng. Thesis,
    Carleton University, Ottawa, April 1972
Trade Articles
 “What’s the hard part of software development anyway?”, Software Assoc. of Oregon, Nov. 2007
 “Better Mileage with Hybrid Learning”, with Kathy Milhauser, Software Assoc. of Oregon, June 2007
 “Can Software Engineers Develop Communications Skills Online?”, Software Assoc. of Oregon, March 2007
 “Is Online Software Engineering Education for You?”, Software Association of Oregon (SAO), February
   2007
 “OMSE Exchange: A Software Engineering Clearing House”, Software Assoc. of Oregon (SAO), November
   2006
 “So Many Engineering Practices: Which to Follow?” (Part III), Software Assoc. of Oregon (SAO), July 2005
 “So Many Engineering Practices: Which to Follow?” (Part II),, Software Assoc. of Oregon (SAO), June 2005
 “So Many Engineering Practices: Which to Follow?” (Part I),, Software Assoc. of Oregon (SAO), May 2005
 “Which is the Right Software Process for your Problem?”, Software Assoc. of Oregon (SAO), April 2005
 “Outsourcing Software Development: A Case for Effective Scope Management”, SAO, March 2005
 “Why Invest in Software Engineering Education?”, SAO, February 2005




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Industry Reports
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 System Security and Recovery Procedures, Datalink Systems Corp, January 1999
 "Technology Skills Gap Analysis: B.C. Software Industry”, under contract to the Software Development
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 "Process Product Standard", internal Hughes System Division Report, June 1994
 "In-Process Review (IPR) Process", internal Hughes System Division Report, December 1993
 "Change in Development Methodology", internal Hughes Systems Division Report, June 1, 1993
 "Total Quality Implementation Program", internal CGI report to the Management Committee, 1991
 "Total Quality Process: Directions & Priorities", internal CGI report to the Management Committee, 1991
 "TQP: Client Satisfaction Assessment Process", internal CGI guide, 1991
 "Software Quality Assurance Program", internal CGI practice guide, 1990
 "Configuration Management Framework", internal CGI practice guide, 1990
 "EDI and Security", CGI Group report, Dec. 1990
 "COSICS Security Verification Plan", Intellitech report to External Affairs, December, 1988
 "Information Security Model", report to National Defence, November 15, 1988
 "Network Processing Strategy Study", a series of reports to Transport Canada, 1988
 "Data Encryption Equipment Specification", Internal report specifying the components of CryptoNet,
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 "A Survey of Integrated Project Support Environments", Report to the Department of National Defence, 1986
 "A New Implementation Strategy for Secure Operating Systems", Intellitech Report, March 1986
 "Computer System Study" (Computer Integrated Manufacturing and Manufacturing Requirements Planning),
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 "Search and Rescue Satellite (SARSAT) Aided Tracking System, Ground System Study", five reports
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 "Design Specification for the NCCS Communications Management System", Atmospheric Env. Serv, January
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 "Design & Analysis of Alternatives for the Integrated Data Network", Report to the Department of National
   Defence, 1982
 "Recovery Mechanisms for the ADD Distributed Database System", Intellitech Report, July 1982 (also
   presented at a NATO workshop in 1982)
 "Implementation Alternatives and Gateway Considerations for a Data Network to Serve the Defence
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 "Design and Security Considerations for a Gateway to Interconnect SAMSON and DATAPAC", Report to the
   Department of National Defence, 1980
 "Open System Interconnection: Application Issues Associated with the ISO and CCITT Layered Models",
   report to the Department of Communications, 1980
 “On Query Decomposition & Processing in Distributed DBs”, INRIA Research Report, N. Spyratos & K.C.
   Toth, 1980
 "Query Processing Strategy Formulation in ADD", Carleton University report, 1979
 "A Modeling Approach to Systems Analysis of Processing Networks", one of five reports to the Department of
   Communications, Spectrum Management Systems
 "Design Issues in Distributed Databases", Carleton University report
 "Design & Configuration Analysis of an Aeronautical Satellite Comm. Centre (ASCC)", report to Transport
   Canada




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University Undergraduate and Graduate Courses
For Portland State University:
     Principles           of      Software  Distributed Software Engineering Team Collaboration
        Engineering                           Software Engineering Practicum
     Software Project Management             Computing Fundamentals II (Visual Basic)
     Software Quality Engineering            Senior Capstone projects
     Software Design Techniques              Directed studies on information security and         software
     Software Estimating                        engineering
For Oregon State University:
     E-Commerce Systems
     Software Engineering I: principles, processes, requirements, OO design, architecture, SPM
     Software Engineering II: implementation, SCM, test techniques, reviews and inspections, SQA
For the Technical University of British Columbia and the University of Alberta:
     Software Engineering Best Practices
     E-Commerce Systems
For the University of British Columbia and Simon Fraser University:
     Software        Engineering       Best  Professional Issues in Software Engineering
        Practices                             Software Engineering Team Project
     Software Project Management
For Carleton University:
     Undergrad course on data structures, databases, programming, and computer architecture
Workshops, Seminars, Tutorials, Professional Training Courses
 Professional Development Course in Software Engineering for Regence Group, Portland, Or, June 2007
 “Identity Management Systems”, tutorial for IEEE International Computer Software and Applications
  Conference (COMPSAC), Chicago, September 2006
 Information security seminars for the Assoc. of Prof. Engineers and Geoscientists of British Columbia, 2002
  and 2006
 Extending the Reach of Mobile E-Commerce, Software Productivity Centre, June 2000
 Wireless Handheld Technologies and Telelearning, Telelearning Conference, Toronto, November 2000
 E-Commerce Lifecycle, Transactions and Security, MacDonald Dettwiler & Assoc., November 1999
 Personal Software Process (PSP): Software Productivity Centre / MacDonald Dettwiler & Associates, 1997
 WestMOST Software Engineering Telelearning Workshop, Saskatoon, 1998
 Software Project Management (including software process and metrics) at Carleton University, December
  1994
 Software Development Methods and Process: Iterative Software Development, for the Canadian Automated
  Air Traffic System (CAATS) at Hughes Aircraft, Systems Division and Transport Canada, March 1993
 Canadian Automated Air Traffic System, seminars presented at UBC (Computer Science), SFU (Applied
  Sciences), and Hughes (for staff and graduate students from UVIC, BCIT, SFU and UBC), 1993 and 1994
 Total Quality Management, a series of seminars presented to CGI Group technical staff across Canada,1991
  and 1992
 Total Quality Management, lecture to 4th year computer systems engineers at Carleton University, 1991
 Information Security Technology Overview for AFCEA INFOSEC Course, Canadian Forces Base (CFB)
  Kingston, October 1991




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Annex B: Exhibit 1, Declaration of Tobias Fieser (IPTRACKER)
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   Annex C: Validation of Forensics Tools and Software
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Validation of Forensics Tools and Software: A Quick Guide for the Digital Forensic Examiner
https://www.forensicmag.com/article/2011/03/validation-forensic-tools-and-software-quick-guide-digital-forensic-examiner
Wed, 03/02/2011 - 7:45am by Josh Brunty
Tools and software for digital forensic analysis should be validated quarterly.With the field of digital forensics growing at
an almost warp-like speed, there are many issues out there that can disrupt and discredit even the most experienced
forensic examiner. One of the issues that continues to be of utmost importance is the validation of the technology and
software associated with performing a digital forensic examination. The science of digital forensics is founded on the
principles of repeatable processes and quality evidence. Knowing how to design and properly maintain a good validation
process is a key requirement for any digital forensic examiner. This article will attempt to outline the issues faced when
drafting tool and software validations, the legal standards that should be followed when drafting validations, and a quick
overview of what should be included in every validation.
Setting the Standard: Standards and Legal Baselines for Software/Tool Validation
According       to    the    National     Institute   of     Standards    and     Technology       (NIST),    test results    must
be repeatable and reproducible to be considered admissible as electronic evidence. Digital forensics test results are
repeatable when the same results are obtained using the same methods in the same testing environment. Digital
forensics test results are reproducible when the same test results are obtained using the same method in a different
testing environment (different mobile phone, hard drive, and so on). NIST specifically defines these terms as follows:
Repeatability refers to obtaining the same results when using the same method on identical test items in the same
laboratory by the same operator using the same equipment within short intervals of time.
Reproducibility refers to obtaining the same results being obtained when using the same method on identical test items
in different laboratories with different operators utilizing different equipment.
In the legal community, the Daubert Standard can be used for guidance when drafting software/tool validations. The
Daubert Standard allows novel tests to be admitted in court, as long as certain criteria are met. According to the ruling
in Daubert v. Merrell Dow Pharmaceuticals Inc. the following criteria were identified to determine the reliability of a
particular scientific technique:
     1. Has the method in question undergone empirical testing?
     2. Has the method been subjected to peer review?
     3. Does the method have any known or potential error rate?
     4. Do standards exist for the control of the technique's operation?
     5. Has the method received general acceptance in the relevant scientific community?
The Daubert Standard requires an independent judicial assessment of the reliability of the scientific test or method. This
reliability assessment, however, does not require, nor does it permit, explicit identification of a relevant scientific
community and an express determination of a particular degree of acceptance within that community. Additionally, the
Daubert Standard was quick to point out that the fact that a theory or technique has not been subjected to peer review or
has not been published does not automatically render the tool/software inadmissible. The ruling recognizes that scientific
principles must be flexible and must be the product of reliable principles and methods. Although the Daubert Standard
was in no way directed toward digital forensics validations, the scientific baselines and methods it suggests are a good
starting point for drafting validation reports that will hold up in a court of law and the digital forensics community.
The Scientific Method and Software/Tool Validations: A Perfect Fit
In the Daubert ruling, The Court defined scientific methodology as “the process of formulating hypotheses and then
conducting experiments to prove or falsify the hypothesis.” The Scientific Method refers to a body of techniques for
investigating phenomena, acquiring new knowledge, or correcting and integrating previous knowledge. To be termed
scientific, the method must be based on gathering, observing, or investigating, and showing measurable and repeatable
results. Most of the time, the scientific process starts with a simple question that leads to a hypothesis, which then leads
to experimentation, and an ultimate conclusion. To exemplify, if you are validating a particular hardware write blocking
device you may want to start with the simple question “Does this tool successfully allow normal write-block operation to
occur to source media?” Since it is assumed that the write-blocking device supports various types of media (SATA, IDE,
and so on) you may be required to list the various requirements of the tool. Because if this, it is good practice for an
examiner to use the scientific method as a baseline for formulating digital forensic validations. It is recommended that
forensic examiners follow these four basic steps as a starting point for an internal validation program:
1) Develop the Plan
Developing the scope of the plan may involve background and defining what the software or tool should do in a detailed
fashion. Developing the scope of the plan also involves creating a protocol for testing by outlining the steps, tools, and
requirements of such tools to be used during the test. This may include evaluation of multiple test scenarios for the same
software or tool. To illustrate, if validating a particular forensic software imaging tool, that tool could be tested to determine
whether or not it successfully creates, hashes, and verifies a particular baseline image that has been previously setup.
There are several publically available resources and guides that can be useful in establishing what a tool should do such
as those available from NIST’s Computer Forensic Tool Testing Project (CFTT) available from http://www.cftt.nist.gov.
The CFTT also publishes detailed validation reports on various types of forensic hardware and software ranging from
mobile phones to disk imaging tools. In addition to CFTT, Marshall University has published various software and tool
validation reports that are publically available for download from http://forensics.marshall.edu/Digital/Digital-
Publications.html. These detailed reports can be used to get a feel for how your own internal protocol should be drafted.
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The scope of the plan may also include items such as: tool version, testing manufacturer, and how often the tests will be
done. These factors should be established based on your organization standards. Typically, technology within a lab
setting is re-validated quarterly or biannually at the very least.
2) Develop a Controlled Data Set
This area may be the longest and most difficult part of the validation process as it is the most involved. This is because it
involves setting-up specific devices and baseline images and then adding data to the specific areas of the media or
device. Acquisitions would then need to be performed and documented after each addition to validate the primary
baseline. This baseline may include a dummy mobile phone, USB thumb drive, or hard drive depending on the software or
hardware tool you are testing. In addition to building your own baseline images, Brian Carrier has posted several
publically available disk images designed to test specific tool capabilities, such as the ability to recover deleted files, find
keywords, and process images. These data sets are documented and are available at http://dftt.sourceforge.net. Once
baseline images are created, tested, and validated it is a good idea to document what is contained within these images.
This will not only assist in future validations, but may also be handy for internal competency and proficiency examinations
for digital examiners.
3) Conduct the Tests in a Controlled Environment
Outside all the recommendations and standards set forth by NIST and the legal community, it only makes sense that a
digital forensics examiner would perform an internal validation of the software and tools being used in the laboratory. In
some cases these validations are arbitrary and can occur either in a controlled or uncontrolled environment. Since
examiners are continuously bearing enormous caseloads and work responsibilities, consi stent and proper validations
sometimes fall through the cracks and are validated in a somewhat uncontrolled “on-the-fly” manner. It’s also a common
practice in digital forensics for examiners to “borrow” validations from other laboratories and fail to vali date their own
software and tools. Be very careful with letting this happen. Keep in mind that in order for digital forensics to be practici ng
true scientific principles, the processes used must be proven to be repeatable and reproducible. In order for thi s to occur,
the validation should occur within a controlled environment within your laboratory with the tools that you will be using. If
the examiner uses a process, software, or even a tool that is haphazard or too varied from one examination to the next,
the science then becomes more of an arbitrary art. Simply put, validations not only protect the integrity of the evidence,
they may also protect your credibility. As stated previously, using a repeatable, consistent, scientific method in drafting
these validations is always recommended.
4) Validate the Test Results against Known and Expected Results
At this point, testing is conducted against the requirements set forth for the software or tool in the previous steps. Keep i n
mind that results generated through the experimentation and validation stage must be repeatable. Validation should go
beyond a simple surface scan when it comes to the use of those technologies in a scientific process. With that said, it is
recommended that each requirement be tested at least three times. If there are any variables that may affect the outcome
of the validation (e.g. failure to write-block, software bugs) they should be determined after three test runs. There may be
cases, however, where more or fewer test runs may be required to generate valid results.
It’s also important to realize that you are probably not the first to use and validate a particular software or tool, so chances
are that if you are experiencing inconsistent results, the community may be experiencing the same results as well.
Utilizing peer review may be a valuable asset when performing these validations. Organizations such as the High
Technology Crime Investigation Association (HTCIA) and the International Association of Computer Investigative
Specialists (IACIS) maintain active member e-mail lists for members that can be leveraged for peer review. There are also
various lists and message boards pertaining to mobile phone forensics that can be quite helpful when validating a new
mobile technology. In addition, most forensic software vendors maintain message boards for software, which can be used
to research bugs or inconsistencies arising during validation testing.
Conclusion
Real world laboratory use, controlled internal tests utilizing scientific principles, and peer review should all be leveraged in
a validation test plan. Sharing unique results with the digital forensics community at-large helps investigators, examiners,
and even software and tool vendors ensure that current best practices are followed. As the field of digital forensics
continues to grow and evolve as a science the importance of proper scientific validation will be more important than ever.
References
1.   Brown, C. "Computer Evidence: Collection & Preservation." Hingham: Thomson/Delma r. 2006.
2.   Carrier, B. “Digital Forensics Tool Testing Images.” Accessed 06 Feb 2011. http://dftt.sourceforge.net/.
3.   Daub ert v. Merrell Dow Pharmaceuticals, 509 U.S. 579 (1993).
4.   High Technology Crime Investigation Association, Accessed 06 Feb 2011. www.htcia.org.
5.   International Association of Computer Investigative Specialists, Accessed 06 Feb 2011. www.iacis.org.
6.   Maras, MH. Computer Forensics: Cybercriminals, Laws, and Evidence. Sudbury: Jones & Bartlett. 2011.
7.   7. Marshall University Forensic Science Center-Digital Publications, Accessed 06 Feb 2011. http://forensics.marshall.edu/Digital/Digital-Publications.html.
8.   NIST Computer Forensic Tool Testing Project. Accessed 06 Feb 2011. www.cftt.nist.gov.
9.   Shroader, A. "How to Validate Your Forensic Tools." Orem: Paraben Corp. 2010.

Josh Brunty currently manages the digital forensics graduate program and the digital forensics research and casework laboratories at the Marshall
University Forensic Science Center in Huntington, WV. Josh holds numerous certifications within the digital forensics discipl ine including: AccessData
Certified Examiner (ACE), Computer Hack ing Forensic Examiner (CHFI), Seized Computer Evidence Recovery Specialist (SCERS), and is certified in
Information Assessment Methodology (NSA-IAM). He has developed a variety of digital forensics training curriculum; including past recertificat ion
scenarios/exams for the International Association of Computer Investigative Specialists (IACIS). Josh is an active member of the Mid-Atlantic
Association of the High Technology Crime Investigation Association (HTCIA) and the Digital -Multimedia Sciences section of the American Academy of
Forensic Sciences (AAFS). He can be reached at josh.brunty@marshall.edu.
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                                                              Annex Header Pages.docx




  Annex D: MaverickEye Preliminary Software Inspection Report
                            MaverickEye Preliminary Source Code Inspection Report                                 12/14/2017


                                   Size      Note                               Observations

MaverickEye/
Logging Client.rar                5.06MB             Unremarkable (an archive)
Logging Client/                   17.1MB             Why is this name used? Was all the cource code provided?
  Makefile                         1.7KB             Unremarkable
  configure                       1.24KB             Unremarkable
  src/                            17.1MB
     TODO                                  Annex E   Completeness: “There's still loads of work to be done to make
                                                     this a fully fledged Bittorrent Client” indicating 4 features to be
                                                     improved, 3 features to be added, and the need to improve
                                                                                                                                Case 3:15-cv-00907-AC




                                                     documentation; Code Quality: “If anyone finds bugs or anything in
                                                     the code (which I'm sure there are many) feel free to drop me
                                                     an email” indicates MonoTorrent is open source SW.

     script                                          Unremarkable
     README                                Annex E   Instructions to developers for building and using the MonoTorrent
                                                     code. The code is in MonoTorrent.Tracker (see ...MonoTorrent/).
                                                     MonoTorrent.TrackerApp contains sample tracker implementation.
                                                                                                                                Document 138-12




     MonoTorrent.sln                                 A visual studio development session.
     LICENSE                               Annex E   Authors: Alan McGovern and Olivier Dufour; Copyright 2006
                                                     Alan McGovern unlimited permissions, no warranty.
     build.xml                                       Unremarkable
     TrackerApp/                  274KB
        trackerapp.in                                Unremarkable
        TrackerApp.csproj                            Unremarkable
                                                                                                                                Filed 02/28/18




        StressTest.cs                                Unremarkable
        Main.cs                                      Author and 2006 copyright Gregor Burger, burger.gregor@gmail.com

         ChangeLog                                   Several changes logged by Alan McGovern 2007 to 2009
         AssemblyInfo.cs                             Author and 2006 copyright Gregor Burger, burger.gregor@gmail.com

                                                     Unremarkable
                                                                                                                                Page 36 of 54




         app.config
         obj/
           Debug/                                    Unremarkable: Folder contains one empty sub-folder, 1 file containing
                                                     log records,and 7 files that cannot be opened, are empty or contain
                                                     junk

                                                     Page 1                                              Dr. Kal Toth, P.Eng.
                                  MaverickEye Preliminary Source Code Inspection Report                                12/14/2017


     Release/                                            Unremarkable: Folder contains one empty sub-folder, 1 file containing
                                                         log records,and 7 files that cannot be opened, are empty or contain
                                                         junk
SharpPcap/                              2.59MB           Open Source SW under GNU LGPL for protocol capture; most of the
                                                         code is fairly well-documented
  ***********.cs (22 files + 1 image)                    Most files are copyright Chris Morgan, Tamir Gal Phillip Lemon (2005
                                                         to 2011
  WinPcap/ (13 files)                                    Most files are copyright Chris Morgan, Tamir Gal Phillip Lemon (2005
                                                         to 2011
  PacketDotNet/                                          1 unremarkable XML file plus dll (non-text file)
  obj/debug/                                             1 empty folder + 8 unremarkable files: 2 are non-text and 3 are empty
                                                                                                                                     Case 3:15-cv-00907-AC




  LibPcap/                                               Ditto ...code is well commented
  docs/Api/SharpPcap.xml                                 Unremarkable
  bin/Debug/ (5 files)                                   Unremarkable: 2 XML + derived ddll (non-text) + file containing junk
  AirPcap/ (23 files)                                    Most files are copyright of Chris Morgan
Samples/                                6.9KB
  ClientSample.cs                                        Unremarkable
  Program.cs                                             Unremarkable
                                                                                                                                     Document 138-12




  Samples.csproj                                         Unremarkable
SampleClient/                           493KB
  ***********.cs (3 files)                               Unremarkable – 3 file(s) minimally commented
  TestClient.suo                                         Non-text file
  ***********.cs (6 files)                               Unremarkable – 6 file(s) minimally commented
  Properties/ (3files)                                   Unremarkable
  obj/
                                                                                                                                     Filed 02/28/18




     Debug/                                              1 empty folder + 13 unremarkable files: 2 are non-text and 3 are
                                                         empty
     Release/                                            1 empty folder + 8 unremarkable files: 2 are non-text and 3 are empty

MonoTorrent.Tests/                      328KB
  MonoTorrent.Tests.csproj                               Unremarkable – file void of meaningful comments
                                                         Unremarkable – contains 3 file(s) with minimal comments
                                                                                                                                     Page 37 of 54




  Tracker/ (3 files)
  Dht/
     AssemblyInfo.cs                                     1 file copyright Alan McGovern 2008,alan.mcgovern@gmail.com
     ***********.cs (8 files)                            Unremarkable – 8 file(s) minimally commented
     TokenTest.cs                                        Copyright (C) 2008 Olivier Dufour olivier.duff@gmail.com

                                                         Page 2                                               Dr. Kal Toth, P.Eng.
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  Common/                                              Unremarkable – 8 file(s) minimally commented
     BEncodingTest.cs                                  Copyright (C) 2006 Alan McGovern
     BitFieldTest.cs                                   Copyright (C) 2006 Alan McGovern
     ***********.cs (8 files)                          Unremarkable – 8 file(s) minimally commented
     TorrentTest.cs                                    Copyright (C) 2006 Alan McGovern
     UriQueryBuilderTests.cs                           Copyright (C) 2009 Olivier Dufour and Alan McGovern
  Client/
     AllowedFastAlgorithmTest.cs                       Copyright (C) 2006 Alan McGovern
     ***********.cs (2 files)                          Unremarkable – 2 file(s) minimally commented
     DiskWriterTests.cs                                Copyright (C) 2009 Alan McGovern
     EndGamePickerTests.cs                             Unremarkable
                                                                                                                               Case 3:15-cv-00907-AC




     FileManager.cs                                    DiskWriterTests.cs
     HttpTrackerTests.cs                               Unremarkable
     InitialSeedingModeTest.cs                         Unremarkable
     InitialSeedUnchokerTests.cs                       Copyright (C) 2009 Alan McGovern
     ***********.cs (5 files)                          Unremarkable – 5 file(s) minimally commented
     NetworkIOTests.cs                                 Copyright (C) 2010 Alan McGovern
     NullWriter.cs                                     Copyright (C) 2009 Alan McGovern
     PeerMessagesTest.cs                               Copyright (C) 2006 Alan McGovern
                                                                                                                               Document 138-12




     PeerTest.cs                                       Copyright (C) 2008 Alan McGovern
     ***********.cs (5 files)                          Unremarkable – 3 file(s) minimally commented
     PriorityPickerTests.cs                            Copyright (C) 2008 Alan McGovern
     ***********.cs (5 files)                          Unremarkable – 5 file(s) minimally commented
     TestPicker.cs                                     Copyright (C) 2008 Alan McGovern
     ***********.cs (4 files)                          Unremarkable – 4 file(s) minimally commented
                                                                                                                               Filed 02/28/18




     TransferTest.cs                                   Copyright (C) 2008 Alan McGovern
     UdpTrackerTests.cs                                Copyright (C) 2008 Alan McGovern
MonoTorrent.Dht/                      373KB            Unremarkable
  TransactionId.cs                                     Unremarkable
  monotorrent.dht.pc.in                                Unremarkable
  MonoTorrent.Dht.csproj                               Unremarkable
  MessageLoop.cs                                       Copyright (C) 2008 Alan McGovern
                                                                                                                               Page 38 of 54




  MessageFactory.cs                                    Copyright (C) 2008 Alan McGovern
  MessageException.cs                                  Unremarkable
  Message.cs                                           Copyright (C) 2008 Alan McGovern
  DhtEngine.cs                                         Copyright (C) 2008 Alan McGovern

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BigInteger.cs                                   Copyright (c) 2003 Ben Maurer, 2002 Chew Keong TAN, 2004, 2007
                                                Novell, Sebastien Pouliot <sebastien@ximian.com>
AssemblyInfo.cs                                 Unremarkable
Tasks/
  AnnounceTask.cs                               Unremarkable
  GetPeersTask.cs                               Unremarkable
  InitialiseTask.cs                             Unremarkable
  ITask.cs                                      Unremarkable
  RefreshBucketTask.cs                          Unremarkable
  ReplaceNodeTask.cs                            Unremarkable
  SendMessageTask.cs                            Unremarkable
                                                                                                                           Case 3:15-cv-00907-AC




  Task.cs                                       Unremarkable
RoutingTable
  Bucket.cs                                     Copyright (C) 2008 Alan McGovern, Jérémie Laval
                                                <jeremie.laval@gmail.com>
  RoutingTable.cs                               Copyright (C) 2008 Alan McGovern
obj/
  Debug/                                        1 empty folder + 10 unremarkable files: 2 are non-text and 3 are
                                                empty
                                                                                                                           Document 138-12




  Release/                                      1 empty folder + 8 unremarkable files: 2 are non-text and 3 are empty

Nodes/
  Node.cs                                       Copyright (C) 2008 Alan McGovern, Jérémie Laval
  NodeId.cs                                     Copyright (C) 2008 Alan McGovern, Jérémie Laval
  NodeState.cs                                  Copyright (C) 2008 Alan McGovern, Jérémie Laval
  TokenManager.cs                               Copyright (C) 2008 Olivier Dufour <olivier.duff@gmail.com>
                                                                                                                           Filed 02/28/18




Messages/
  Errors/
    ErrorMessage.cs                             Copyright (C) 2008 Alan McGovern
  Queries/
    AnnouncePeer.cs                             Copyright (C) 2008 Alan McGovern
    FindNode.cs                                 Copyright (C) 2008 Alan McGovern
                                                                                                                           Page 39 of 54




    GetPeers.cs                                 Copyright (C) 2008 Alan McGovern
    Ping.cs                                     Copyright (C) 2008 Alan McGovern
    QueryMessage.cs                             Copyright (C) 2008 Alan McGovern
  Responses/
    AnnouncePeerResponse.cs                     Copyright (C) 2008 Alan McGovern
                                                Page 4                                              Dr. Kal Toth, P.Eng.
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       FindNodeResponse.cs                           Copyright (C) 2008 Alan McGovern
       GetPeersResponse.cs                           Copyright (C) 2008 Alan McGovern
       PingResponse.cs                               Copyright (C) 2008 Alan McGovern
       ResponseMessage.cs                            Copyright (C) 2008 Alan McGovern
  Listeners/
     DhtListener.cs                                  Unremarkable
  EventArgs/
     NodeAddedEventArgs.cs                           Unremarkable
     NodeFoundEventArgs.cs                           Copyright (C) 2008 Olivier Dufour
     SendMessageEventArgs.cs                         Unremarkable
     TaskCompleteEventArgs.cs                        Unremarkable
                                                                                                                                Case 3:15-cv-00907-AC




MonoTorrent/                        3.71MB
  monotorrent.pc.in                                  Unremarkable
  MonoTorrent.csproj                                 Project file – otherwise unremarkable
  LogManager.cs                                      Imported from SharpDc project, written by Vladislav Pozdnyakov
                                                     (hackward@gmail.com) 2012-2013, licensed under the LGPL
  DBConnect.cs                                       Database integration component otherwise unremarkable
  ChangeLog                                          Several changes logged by Alan McGovern 2007 to 2009
  AssemblyInfo.cs.in                                 Copyright Alan McGovern,Gregor Buguer, MIT X11 Licensed
                                                                                                                                Document 138-12




  AssemblyInfo.cs                                    Copyright Alan McGovern,Gregor Buguer, MIT X11 Licensed
  obj/
    Debug/                                           Unremarkable: Folder contains one empty sub-folder, 1 file containing
                                                     log records,and 5 files that cannot be opened, are empty or contain
                                                     junk
    Release/                                         Unremarkable: Folder contains one empty sub-folder, 1 file containing
                                                     log records,and 5 files that cannot be opened, are empty or contain
                                                                                                                                Filed 02/28/18




                                                     junk
  MonoTorrent.Tracker/
    Tracker.cs                                       Author and Copyright 2006: Gregor Burger
                                                     burger.gregor@gmail.com, open permissions, no warranty
    SimpleTorrentManager.cs                          Author and Copyright 2006: Gregor Burger, open permissions, no
                                                     warranty
                                                                                                                                Page 40 of 54




    RequestParameters.cs                             Unremarkable
    RequestMonitor.cs                                Unremarkable
    Peer.cs                                          Author and 2006 Copyright: Gregor Burger, open permissions, no
                                                     warranty
    Itrackable.cs                                    Unremarkable
                                                     Page 5                                              Dr. Kal Toth, P.Eng.
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  IPAddressComparer.cs                           Unremarkable
  InfoHashTrackable.cs                           Unremarkable
  ChangeLog                                      Multiple changes logged 2007-2009 by Alan McGovern
                                                 alan.mcgovern@gmail.com
  Listeners/
    HttpListener.cs                              Copyright 2006: Gregor Burger, open permissions, no
                                                 warranty
    ListenerBase.cs                              Unremarkable
    ManualListener.cs                            Unremarkable
    UdpListener.cs                               Copyright 2006: Olivier Dufour, olivier.duff@gmail.com, open, no
                                                 warranty
                                                                                                                           Case 3:15-cv-00907-AC




  Frontend/
    AnnounceParameters.cs                        Author and Copyright 2006: Gregor Burger, open permissions, no
                                                 warranty
    ChangeLog                   Empty            Empty File
    global.asax                                  Unremarkable
    index.aspx                                   Unremarkable
    ScrapeParameters.cs                          Author and Copyright 2006: Gregor Burger, open permissions, no
                                                 warranty
                                                                                                                           Document 138-12




    web.config                                   Unremarkable
  Exceptions/
    TrackerException.cs                          Unremarkable
  EventArgs/                                     Unremarkable
    AnnounceEventArgs.cs                         Unremarkable
    PeerEventArgs.cs                             Unremarkable
    ScrapeEventArgs.cs                           Unremarkable
                                                                                                                           Filed 02/28/18




    TimedOutEventArgs.cs                         Unremarkable
MonoTorrent.TorrentWatchers
  ITorrentWatcher.cs                             Copyright 2006 Stephane Zanoni <stephane@ethernal.net>
  TorrentFolderWatcher.cs                        Copyright 2006 Stephane Zanoni stephane@ethernal.net
  TorrentWatcherEventArgs.cs                     Copyright 2006 Stephane Zanoni stephane@ethernal.net
  TorrentWatchers.cs                             Copyright 2006 Stephane Zanoni stephane@ethernal.net
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MonoTorrent.Common
  AsyncResult.cs                                 Author and 2008 copyright, Alan McGovern, unlimited permissions, no
                                                 warranty
  BitField.cs                                    Author and 2006 copyright, Alan McGovern, unlimited permissions, no
                                                 warranty
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Cache.cs                                        Author and 2009 copyright, Alan McGovern, unlimited permissions, no
                                                warranty
ChangeLog                                       Change records 2008-2009 by Alan McGovern
Check.cs                                        Unremarkable
EditableTorrent.cs                              Unremarkable
Enums.cs                                        Author and 2006 copyright, Alan McGovern, unlimited permissions, no
                                                warranty
FileMapping.cs                                  Author and 2009 copyright, Alan McGovern, unlimited permissions, no
                                                warranty
HashAlgoFactory.cs                              Author and 2009 copyright, Alan McGovern, unlimited permissions, no
                                                warranty
                                                                                                                         Case 3:15-cv-00907-AC




Hashes.cs                                       Unremarkable
ICacheable.cs                                   Author and 2008 copyright, Alan McGovern, unlimited permissions, no
                                                warranty
IFileSource.cs                                  Unremarkable
InfoHash.cs                                     Unremarkable
MagnetLink.cs                                   Unremarkable
MonoTorrentCollectionBase.cs                    Unremarkable
PeerID.cs                                       Authors: Gregor Burger burger.gregor@gmail.com, Alan McGovern,
                                                                                                                         Document 138-12




                                                alan.mcgovern@gmail.com, Copyright (C) 2006 Gregor Burger,
                                                unlimited permissions, no warranty
RawTrackerTier.cs                               Unremarkable
RawTrackerTiers.cs                              Unremarkable
SpeedMonitor.cs                                 Author and 2010 copyright, Alan McGovern, unlimited permissions, no
                                                warranty
TimeoutDispatcher.cs                            Author: Aaron Bockover abockover@novell.com Copyright (C) 2008
                                                                                                                         Filed 02/28/18




                                                Novell, Inc., unlimited permissions, no warranty
ToolBox.cs                                      Author and 2006 copyright, Alan McGovern, unlimited permissions, no
                                                warranty
Torrent.cs                                      Author and 2006 copyright, Alan McGovern, unlimited permissions, no
                                                warranty
TorrentCreator.cs                               Authors: Gregor Burger burger.gregor@gmail.com, Alan McGovern
                                                alan.mcgovern@gmail.com, Copyright 2006-2007 Gregor Burger &
                                                                                                                         Page 42 of 54




                                                Alan McGovern, unlimited permissions, no warranty
TorrentCreatorAsyncResult.cs                    Unremarkable
TorrentEditor.cs                                Author and 2010 copyright, Alan McGovern, unlimited permissions, no
                                                warranty

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  TorrentException.cs                               Author and 2006 copyright, Alan McGovern, unlimited permissions, no
                                                    warranty
  TorrentFile.cs                                    Author and 2006 copyright, Alan McGovern, unlimited permissions, no
                                                    warranty
  TorrentFileSource.cs                              Unremarkable
  UriHelper.cs                                      Patrik Torstensson Patrik.Torstensson@labs2.com, Wictor WilÃ©n
                                                    (decode/encode functions) wictor@ibizkit.se, Tim Coleman
                                                    tim@timcoleman.com), Gonzalo Paniagua Javier
                                                    gonzalo@ximian.com, Marek Habersack mhabersack@novell.com,
                                                    Copyright 2005-2010 Novell, Inc http://www.novell.com
  UriQueryBuilder.cs                                Authors: Olivier Dufour olivier.duff@gmail.com, Alan McGovern
                                                                                                                               Case 3:15-cv-00907-AC




                                                    alan.mcgovern@gmail.com, Copyright (C) 2009 Olivier Dufour, Alan
                                                    McGovern, unlimited permissions, no warranty
  VersionInfo.cs                                    Author and 2006 copyright, Alan McGovern, unlimited permissions, no
                                                    warranty
MonoTorrent.Client
  WaitHandleGroup.cs                                 Unremarkable
  TransferType.cs                                    Unremarkable
  TorrentFileStream.cs                               Unremarkable
  Piece.cs                                           Copyright (C) 2006 Alan McGovern
                                                                                                                               Document 138-12




  PeerIO.cs                                          Copyright (C) 2010 Alan McGovern
  NullDhtEngine.cs                                   Copyright (C) 2009 Alan McGovern
  NetworkIO.cs                                       Copyright (C) 2008 Alan McGovern
  Mono.Security.dll                                  dll (non text)
  MainLoop.cs                                        Copyright (C) 2008 Alan McGovern
  Logger.cs                                          Unremarkable
                                                                                                                               Filed 02/28/18




  IDhtEngine.cs                                      Copyright (C) 2009 Alan McGovern
  FileStreamBuffer.cs                                Unremarkable
  CodeRoadmap.txt                        Interesting (not code) Road map (plan for restructuring) the MonoTorrent.Client

  ClientEngine.cs                                   Copyright (C) 2006 Alan McGovern
  CLASS DESCRIPTION                                 Documents class in MonoTorrent (undated therefore relevancy
                                                    uncertain)
                                                                                                                               Page 43 of 54




  ChangeLog                                         Change records in 2008 by Alan McGovern
  Block.cs                                          Copyright (C) 2006 Alan McGovern
  AsyncIOState.cs                                   Copyright (C) 2008 Alan McGovern
  AsyncConnectState.cs                              Copyright (C) 2010 Alan McGovern
  AllowedFastAlgorithm.cs                           Copyright (C) 2006 Alan McGovern
                                                    Page 8                                              Dr. Kal Toth, P.Eng.
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AllowedFastAlgorithm.cs/
  InitialSeedUnchoker.cs                          Copyright (C) 2009 Alan McGovern
  IUnchoker.cs                                    Copyright (C) 2009 Alan McGovern
  Unchoker.cs                                     Copyright (C) 2009 Alan McGovern
Tracker/
  AnnounceParameters.cs                           Unremarkable
  HTTPTracker.cs                                  Copyright (C) 2007 Eric Butler, eric@extremeboredom.net
  ITracker.cs                                     Unremarkable
  ScrapeParameters.cs                             Unremarkable
  Tracker.cs                                      Copyright (C) 2006 Alan McGovern
  TrackerConnectionId.cs                          Copyright (C) 2006 Alan McGovern
                                                                                                                           Case 3:15-cv-00907-AC




  TrackerFactory.cs                               Copyright (C) 2007 Eric Butler (co-authored with Alan McGovern
  TrackerTier.cs                                  Unremarkable
  UdpTracker.cs                                   Unremarkable
Tasks/
  DelegateTask.cs                                 Unremarkable
  Task.cs                                         Copyright (C) 2008 Alan McGovern
Settings/
  ChangeLog                                       One change record: 2008-06-05 Alan McGovern
                                                                                                                           Document 138-12




  EngineSettings.cs                               Copyright (C) 2006 Alan McGovern
  TorrentSettings.cs                              Copyright (C) 2006 Alan McGovern
RateLimiters/
  DiskWriterLimiter.cs                            Copyright (C) 2009 Alan McGovern
  IRateLimiter.cs                                 Copyright (C) 2009 Alan McGovern
  PauseLimiter.cs                                 Copyright (C) 2009 Alan McGovern
                                                                                                                           Filed 02/28/18




  RateLimiter.cs                                  Copyright (C) 2006 Alan McGovern
  RateLimiterGroup.cs                             Copyright (C) 2009 Alan McGovern
PieceWriter/
  DiskWriter.cs                                   Unremarkable
  IPieceWriter.cs                                 Unremarkable
  MemoryWriter.cs                                 Unremarkable
  NtfsSparseFile.cs                               Unremarkable
                                                                                                                           Page 44 of 54




  PieceData.cs                                    Unremarkable
  PieceWriter.cs                                  Unremarkable
PiecePicking/
  ChangeLog                                       Change records in 2008 and 2009 by Alan McGovern

                                                  Page 9                                            Dr. Kal Toth, P.Eng.
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  EndGamePicker.cs                                Copyright (C) 2008 Alan McGovern
  EndGameSwitcher.cs                              Copyright (C) 2009 Alan McGovern
  IgnoringPicker.cs                               Copyright (C) 2008 Alan McGovern
  LoggingPicker.cs                                Copyright (C) 2009 Alan McGovern
  NullPicker.cs                                   Copyright (C) 2009 Alan McGovern
  PiecePicker.cs                                  Copyright (C) 2008 Alan McGovern
  PriorityPicker.cs                               Copyright (C) 2008 Alan McGovern
  RandomisedPicker.cs                             Copyright (C) 2008 Alan McGovern
  RarestFirstPicker.cs                            Copyright (C) 2008 Alan McGovern
  SlidingWindowPicker.cs                          Copyright (C) 2006 Karthik Kailash karthik.l.kailash@gmail.com,
                                                  David Sanghera dsanghera@gmail.com
                                                                                                                            Case 3:15-cv-00907-AC




  SortedList.cs                                   Copyright (C) 2008 Alan McGovern
  StandardPicker.cs                               Copyright (C) 2006 Alan McGovern
Peers/
  ChangeLog                                       2008-01-12 Alan McGovern <alan.mcgovern@gmail.com>
  Peer.cs                                         Copyright (C) 2006 Alan McGovern
  PeerList.cs                                     Unremarkable
PeerConnections/
  ChangeLog                                       2008 Change Records by Alan McGovern
                                                                                                                            Document 138-12




  ConnectionFactory.cs                            Unremarkable
  HTTPConnection.cs                               Copyright (C) 2006 Alan McGovern
  HttpRequestData.cs                              Unremarkable
  IConnection.cs                                  Unremarkable
  IPV6Connection.cs                               Unremarkable
  PeerId.cs                                       Copyright (C) 2006 Alan McGovern
  TCPConnection.cs                                Copyright (C) 2006 Alan McGovern
                                                                                                                            Filed 02/28/18




NetworkIO/
  ReceiveMessageState.cs                          Copyright (C) 2010 Alan McGovern
  State.cs                                        Copyright (C) 2010 Alan McGovern
Modes/
  DownloadMode.cs                                 Unremarkable
  ErrorMode.cs                                    Unremarkable
                                                                                                                            Page 45 of 54




  HashingMode.cs                                  Unremarkable
  InitialSeedingMode.cs                           Copyright (C) 2009 Alan McGovern
  MetadataMode.cs                                 Copyright (C) 2009 Olivier Dufour, co-authored with Alan McGovern



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 Mode.cs                                      Copyright (C) 2009 Alan McGovern
 PausedMode.cs                                Unremarkable
 StoppedMode.cs                               Unremarkable
 StoppingMode.cs                              Unremarkable
Messages/
 UnknownMessage.cs                            Empty File
 PeerMessage.cs                               Unremarkable
 MessageBundle.cs                             Unremarkable
 Message.cs                                   Copyright (C) 2008 Alan McGovern
 IMessage.cs                                  Unremarkable
 uTorrent/
                                                                                                        Case 3:15-cv-00907-AC




    PeerExchangeMessage.cs                    Unremarkable
 UdpTrackerMessages/
    UdpTrackerMessage.cs                      Copyright (C) 2008 Alan McGovern
    ScrapeResponseMessage.cs                  Copyright (C) 2008 Alan McGovern
    ScrapeMessage.cs                          Copyright (C) 2008 Alan McGovern
    ScrapeDetails.cs                          Copyright (C) 2008 Alan McGover
    MessageType.cs                            Copyright (C) 2008 Alan McGover
    ErrorMessage.cs                           Copyright (C) 2008 Alan McGover
                                                                                                        Document 138-12




    ConnectResponseMessage.cs                 Copyright (C) 2008 Alan McGover
    ConnectMessage.cs                         Copyright (C) 2008 Alan McGover
    AnnounceResponseMessage.cs                Copyright (C) 2008 Alan McGover
    AnnounceMessage.cs                        Unremarkable
    Extensions/
      AuthenticationMessage.cs                Unremarkable
                                                                                                        Filed 02/28/18




 StandardMessages/
    BitfieldMessage.cs                        Copyright (C) 2006 Alan McGovern
    CancelMessage.cs                          Copyright (C) 2006 Alan McGovern
    ChangeLog                                 2008-02-02 Alan McGovern
    ChokeMessage.cs                           Copyright (C) 2006 Alan McGovern
    HandshakeMessage.cs                       Copyright (C) 2006 Alan McGovern
    HaveMessage.cs                            Copyright (C) 2006 Alan McGovern
                                                                                                        Page 46 of 54




    InterestedMessage.cs                      Copyright (C) 2006 Alan McGovern
    KeepAliveMessage.cs                       Copyright (C) 2006 Alan McGovern
    NotInterestedMessage.cs                   Copyright (C) 2006 Alan McGovern
    PieceMessage.cs                           Copyright (C) 2006 Alan McGovern

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       PortMessage.cs                             Copyright (C) 2006 Alan McGovern
       RequestMessage.cs                          Copyright (C) 2006 Alan McGovern
       UnchokeMessage.cs                          Copyright (C) 2006 Alan McGovern
    LibtorrentMessages/
       ChangeLog                                  Empty File
       ExtendedHandshakeMessage.cs                Copyright (C) 2006 Alan McGovern
       ExtensionSupports.cs                       Copyright (C) 2009 Alan McGovern
       LibtorrentMessage.cs                       Copyright (C) 2006 Alan McGovern
       LTChat.cs                                  Unremarkable
       LTMetadata.cs                              Copyright (C) 2006 Alan McGovern
       LTSupport.cs                               Unremarkable
                                                                                                                           Case 3:15-cv-00907-AC




    FastPeerExtensions/
       AllowedFastMessage.cs                      Copyright (C) 2006 Alan McGovern
       ChangeLog                                  Empty File
       HaveAllMessage.cs                          Copyright (C) 2006 Alan McGovern
       HaveNoneMessage.cs                         Copyright (C) 2006 Alan McGovern
       IFastPeerMessage.cs                        Unremarkable
       RejectRequestMessage.cs                    Copyright (C) 2006 Alan McGovern
       SuggestPieceMessage.cs                     Copyright (C) 2006 Alan McGovern
                                                                                                                           Document 138-12




MonoTorrent.BEncoding
  BEncodedDictionary.cs                           Author and 2008 copyright, Alan McGovern, unlimited permissions, no
                                                  warranty
  BEncodedList.cs                                 Author and 2008 copyright, Alan McGovern, unlimited permissions, no
                                                  warranty
  BEncodedNumber.cs                               Author and 2008 copyright, Alan McGovern, unlimited permissions, no
                                                  warranty
                                                                                                                           Filed 02/28/18




  BencodedString.cs                               Author and 2008 copyright, Alan McGovern, unlimited permissions, no
                                                  warranty
  BencodingException.cs                           Author and 2008 copyright, Alan McGovern, unlimited permissions, no
                                                  warranty
  ChangeLog                                       Empty log file
  IBEncodedValue.cs                               Author and 2008 copyright, Alan McGovern, unlimited permissions, no
                                                                                                                           Page 47 of 54




                                                  warranty
                                                  Author and 2008 copyright, Alan McGovern, unlimited permissions, no
  RawReader.cs                                    warranty
BanLists

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     BanList.cs                                  Author and 2008 copyright, Alan McGovern, unlimited permissions, no
                                                 warranty
     ListParser.cs                               Author and 2008 copyright, Alan McGovern, unlimited permissions, no
                                                 warranty
     RangeCollection.cs                          Author and 2008 copyright, Alan McGovern, unlimited permissions, no
                                                 warranty
GeoIP_project/                  4.07MB
  RestSharp.xml                                  Unremarkable XML
  RestSharp.dll                                  dll derived from above
  Program.cs                                     Unremarkable
  Newtonsoft.Json.xml                            Unremarkable XML
                                                                                                                                 Case 3:15-cv-00907-AC




  Newtonsoft.Json.dll                            dll derived from above
  MaxMind.GeoIP2.XML                             Unremarkable XML
  MaxMind.GeoIP2.dll                             dll derived from above
  MaxMind.Db.xml                                 Unremarkable XML
  MaxMind.Db.dll                                 dll derived from above
  GeoIP_project.csproj                           Unremarkable project file
  App.config                                     Unremarkable
  Properties/
                                                                                                                                 Document 138-12




     AssemblyInfo.cs                             Unremarkable
  obj/
    Debug/                                       1 empty folder, 3 unremarkable files, 1 dll, 2 unreadable fiiles (dlls), 1
                                                 junk, 3 empty
     Release/                                    1 empty folder, 2 unremarkable files, 1 dll, 2 unreadable fiiles (dlls), 1
                                                 junk, 3 empty
  bin/
                                                                                                                                 Filed 02/28/18




     Debug/                                      11 unremarkable files
     Release/                                    11 unremarkable files
DhtSampleClient/                4.20KB
  AssemblyInfo.cs                                Copyright © Alan McGovern 2008
  Program.cs                                     Unremarkable
  SampleClient.csproj                            Unremarkable
                                                                                                                                 Page 48 of 54




curses/                         21.5KB
  MonoTorrent                                    Author: Miguel de Icaza miguel.de.icaza@gmail.com Copyright 2007
                                                 Novell
CreatingCaptureFile/            4.00MB
  PcapClass.cs                                   Unremarkable

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  CreatingCaptureFile.csproj                          Unremarkable
  Service References/                                 Empty Folder
  obj/
    Debug/                                            1 empty folder, 3 unremarkable files, 1 dll, 2 unreadable fiiles (dlls), 1
                                                      junk, 3 empty
     Release/                                         1 empty folder, 2 unremarkable files, 1 dll, 2 unreadable fiiles (dlls), 1
                                                      junk, 3 empty
  FakesAssemblies/
     SharpPcap.Fakes.dll                              dll (non text)
     SharpPcap.Fakes.fakesconfig                      Unremarkable
     SharpPcap.Fakes.messages                         Unremarkable
                                                                                                                                      Case 3:15-cv-00907-AC




     SharpPcap.Fakes.xml                              Unremarkable
  Fakes/
     SharpPcap.fakes                                  Unremarkable
  bin/
     Debug/                                           12 Unremarkable Files
     Release/                                         Empty Folder
AddFeatures/                         152KB
  Program.cs                                          Crypto Module – Unremarkable
                                                                                                                                      Document 138-12




  App.Config                                          Unremarkable
  AddFeatures.csproj                                  Build Program – Unremarkable
  Properties/
     AssemblyInfo.cs                                  Unremarkable -part of above build process
  obj/
    Debug/                                            Unremarkable: Folder contains one empty sub-folder, 1 file containing
                                                      log records,and 5 files that cannot be opened, are empty or contain
                                                                                                                                      Filed 02/28/18




                                                      junk
     Release/                                         Unremarkable: Folder contains one empty sub-folder, 1 file containing
                                                      log records,and 5 files that cannot be opened, are empty or contain
                                                      junk
   bin/
      Debug/                                          Unremarkable – 2 unreadable fiiles (dlls) and 1 config file
                                                                                                                                      Page 49 of 54




      Release/                                        Unremarkable – 2 unreadable fiiles (dlls) and 1 config file
.vs/                                 609KB
  MonoTorrent/V14/                                    Empty Folder



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                  Annex E: MaverickEye Notices

                [1] Logging Client / LICENSE.txt
                [2] Logging Client / DOTO.txt
                [3] Logging Client / README.txt
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[1] Logging Client / src / LICENSE.txt


// MonoTorrent
//
// Authors:
// Alan McGovern <alan.mcgovern@gmail.com>
// Olivier Dufour
//
// Copyright (C) 2006 Alan McGovern
//
// Permission is hereby granted, free of charge, to any person obtaining
// a copy of this software and associated documentation files (the
// "Software"), to deal in the Software without restriction, including
// without limitation the rights to use, copy, modify, merge, publish,
// distribute, sublicense, and/or sell copies of the Software, and to
// permit persons to whom the Software is furnished to do so, subject to
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//
// The above copyright notice and this permission notice shall be
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// NONINFRINGEMENT. IN NO EVENT SHALL THE AUTHORS OR COPYRIGHT HOLDERS BE
// LIABLE FOR ANY CLAIM, DAMAGES OR OTHER LIABILITY, WHETHER IN AN ACTION
// OF CONTRACT, TORT OR OTHERWISE, ARISING FROM, OUT OF OR IN CONNECTION
// WITH THE SOFTWARE OR THE USE OR OTHER DEALINGS IN THE SOFTWARE.
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[2] Logging Client / src / TODO.txt

[ Client DLL ]
There's still loads of work to be done to make this a fully fledged Bittorrent Client. I've divided the work into
three sections (for the moment). Features to be added, features to be improved and sections of code that
need rearchitecting. I've also put a difficulty estimation for anyone interested in picking an item and
completing it.

-- FEATURES TO BE ADDED --
   01) HTTP Seeding - The ability to use a normal HTTP/FTP download as a "seed". [MEDIUM-HIGH]
   04) Implement DHT/Peer Exchange. [MEDIUM-LOW]
   14) Support SOCKS proxies
   29) Algorithm to allow for automatic scheduling of torrents based on rules is being implemented. Should
allow for people to select "seed for 30 mins after completion or a ratio of 1.4 us reached and total
bandwidth is below 150kB/sec" etc.

-- FEATURES TO BE IMPROVED --
   01) Allow editing of .torrent information EXCEPT for the infohash section [MEDIUM]
   05) New super seeding algorithm. At the moment defaults to "seeding" which defaults to "downloading.
[LOW]
   30) Put peers that i can connect to but drop the connection in a seperate "busy" list instead of dropping
them completely.
   31) After receiving X number of pieces from a peer, reduce their FailedConnectionAttempts value as
they are "good"

If anyone finds bugs or anything in the code (which i'm sure there are many :p) feel free to drop me an
email. For the moment i don't want people commiting patches directly to SVN, i'd like to see them first. But
if you want to fix a bug, please go right ahead and write the code. The only request i have is to do your best
to match my coding style. There's nothing worse than having several different coding styles in the same
class.

[ Tracker DLL ]

-- FEATURES TO BE ADDED --

  06) Integrate the Tracker into the GUI
  08) Change the backend to use the event form 07
  09) Add in support for NAT-Checking (checking if peers are connectable). If they aren't, send em a
warning message

-- FEATURES TO BE IMPROVED --
   03) Improve doc
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[3] Logging Client / src / README.txt

PRE-REQUISITES
------------------------------------------------------------------------------------------------------------
To run: MS.NET 2.0 or Mono 1.1.16.1+
To build: MonoDevelop, Visual Studio, SharpDevelop or the standard *nix toolchain

BUILDING MONOTORRENT:
------------------------------------------------------------------------------------------------------------
MakeFiles:
To build using the makefiles, execute the following commands:
$ ./autogen.sh
$ make
$ make install
This will only build MonoTorrent.dll. The other sub-projects are not built via this method.

Project Files:
You can open the MonoTorrent.sln file in MonoDevelop, SharpDevelop or Visual Studio. This is the
preferred way to build MonoTorrent and all the sub-projects.

BRIEF INTRODUCTION INTO HOW THE CODE SHOULD BE USED
------------------------------------------------------------------------------------------------------------
[MonoTorrent Client]
To run the sample client you need to do the following:
1) Make sure that MonoTorrent.dll and SampleClient.exe are in the same folder
2) Create a folder in that directory called "Torrents".
3) Put any number of .torrent files into the Torrents directory. This files will all be loaded by the sample
client.
5) Launch SampleClient.exe to begin downloading. All files will be downloaded to a directory called
"Downloads".
Note: Only statistics will only be shown for the first .torrent loaded into the engine. So there is no real point
in loading more than one .torrent into the engine.

Developer Notes:
There are a few important things developers should note before creating a gui/service using the library.
Firstly there is no guarantee what thread the events will be fired on, so if you're doing GUI updates, you will
need to make sure that you perform your actual GUI update in a threadsafe manner.

[The Tracker]
============
The code of the Tracker is located in MonoTorrent.Tracker. There is one sample Tracker implementation
in MonoTorrent.TrackerApp.

The Tracker is a piece of Software which listens for HttpRequests. Each Request can either be an
Announce or Scrape request. Therefore the Tracker needs code which handles HttpRequests. The Tracker
was programmed in such a way that it is independent of the http handling code. The http handling code is
called Frontend.
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There are currently two Frontends implemented. The first uses the class HttpListener. This implementation
got most attention. The second one uses the Asp.Net infrastructe and the HttpHandles classes. It therefore
could be used in xsp2, mod_mono or even in IIS. But the second implementation was just a proof of
concept and is not tested but should be functional. There exists and Frontend directory which contains all
the Frontend handling code.

There is also a Backend part of the Tracker. The backend is responsible for storing the Informations per
Torrent which should be Announced to the peers. There is currently one Backend implementation which
uses the .Net internal Datastructes List<> and Dictionary<> called SimpleTorrentManager. A Backend
needs to implement the ITorrentManager interface.

If you would like to start the Tracker the TrackerEngine is the class you would like to use. The sequence
below is enough to start the Tracker:

   TrackerEngine engine = TrackerEngine.Instance
   engine.Address = "127.0.0.1";
   engine.Port = 10000;
   engine.Frontend = TrackerFrontend.InternalHttp;
   engine.Start();

Adding Torrents is easy too. Just get an Tracker instance and call AddTorrent:

   Torrent t = new Torrent();
   t.LoadTorrent(path);
   TrackerEngine.Instance.Tracker.AddTorrent(t);

The two code snippets are enough to start a simple tracker. If you would like to tune the Tracker to use
less Bandwidth you can set various things in the Tracker instance. One such thing would be to use the
compact response format:

   Tracker.Instance.AllowNonCompact = true;

The other place where you can tune is to implement the IIntervalAlgorithm. An implementor can controll at
which rate the peers should request an Announce or Scrape. Currently we have an static implementation
which uses static defaults taken from the original BitTorrent implementation. It's even possible to higher
the intervals based on the number of peers using the Torrent.

Tracker.cs is the code where everything is glued together. It is something like the heart of the Tracker
implementation.

How to Test:
If you want to test the Tracker just compile it with MonoDevelop. The Tracker searches (and creates if not
found) for a directory named ./torrents. In this Directory every Torrent is loaded on startup. To test
the Torrent you need some torrents pointing at the Tracker. This can be done with the unit test. Just
run gnunit2 and load the Common.dll in src/bin/Debug. Copy the single.torrent and torrentcreator.torrent
into src/bin/Debug/torrents and start the Tracker in MonoDevelop. Then you can load the Torrents in
Azureus or BitTorrent and check if the Tracker reacts on Announces and Scrapes.
